                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

JACK ESKENAZI                             )
d/b/a AMERICAN HEALTHCARE CAPITAL         )                  CIVIL ACTION NO.:
                                          )
                        Plaintiff,        )
                                          )                  4:18-cv-00307-SRB
v.                                        )
                                          )
RURAL COMMUNITY HOSPITALS OF              )
AMERICA, LLC, EMPOWER HEALTHCARE, )
LLC, RURAL HEALTH PARTNERS, LLC,          )
PAUL L. NUSBAUM and JORGE PEREZ,          )
                                          )
                        Defendants.       )
_________________________________________ )

 MOTION TO DISMISS FIRST AMENDED COMPLAINT BY DEFENDANTS RURAL
 COMMUNITY HOSPITALS OF AMERICA, LLC, EMPOWER HEALTHCARE, LLC,
 RURAL HEALTH PARTNERS, LLC, PAUL L. NUSBAUM AND JORGE PEREZ, OR,
    IN THE ALTERNATIVE, MOTION FOR A MORE DEFINITE STATEMENT

       COME NOW Defendants Rural Community Hospitals of America, LLC, Empower

Healthcare, LLC, Rural Health Partners, LLC, Paul L. Nusbaum and Jorge Perez (“Defendants”),

by and through counsel, and hereby move for an Order dismissing Plaintiff’s First Amended

Complaint [Doc. #31] pursuant to Fed. R. Civ. P. 12(b)(2), Fed. R. Civ. P. 12(b)(3) and Fed. R.

Civ. P. 12(b)(6), and/or for a more definite statement pursuant to Fed. R. Civ. P. 12(e).

Defendants’ Suggestions in Support of this Motion to Dismiss are contemporaneously filed

herewith.

       WHEREFORE, Defendants respectfully request this Court to grant the relief requested

herein, together with such other and further relief the Court deems just, proper and equitable under

the circumstances.

                                                     Respectfully submitted,

                                                     CHAPMAN AND COWHERD, P.C.



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                                                     RURAL COMMUNITY HOSPITALS OF
                                                     AMERICA, LLC, EMPOWER
                                                     HEALTHCARE, LLC, RURAL HEALTH
                                                     PARTNERS, LLC, PAUL L. NUSBAUM
                                                     AND JORGE PEREZ


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                                                     RURAL COMMUNITY HOSPITALS OF
                                                     AMERICA, LLC, EMPOWER
                                                     HEALTHCARE, LLC, RURAL HEALTH
                                                     PARTNERS, LLC, PAUL L. NUSBAUM
                                                     AND JORGE PEREZ
                                                     Petition for Admission Pro Hac Vice pending

                                CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of August, 2018, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, a true copy of the foregoing to be

furnished via CM/ECF to all counsel of record.

                                                    /s/ Lauren A. Horsman




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